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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                   )
                                             )
                               v.            )                      No. 23CR91-02-CKK
                                             )
 GUANGHUA JIN                                )


RESPONSE IN OPPOSITION TO THE GOVERNMENT’S MOTION FOR EXCLUSION
               OF TIME UNDER THE SPEEDY TRIAL ACT

       Guanghua Jin opposes the government’s motion for a blanket half-year exclusion of time

under the Speedy Trial Act (“STA”), 18 U.S.C. § 3161. The government seeks this lengthy

exclusion without any justifiable basis, while Mr. Jin languishes in jail in pretrial custody. For

the reasons that follow, the half-year exclusion sought by the government should be denied

because it would violate Mr. Jin’s rights under the STA.

                                       BACKGROUND

       The government has been investigating this matter for over five years, but likely longer.

We know this, because the government employed an undercover agent in this case as early as

May 2019 to develop what it believed would be incriminating evidence against Mr. Jin and

others. As it turned out, the evidence developed through the government’s undercover operation

shows beyond any doubt that Mr. Jin did not intend to violate the law: not United States law, and

not any law.

       Undeterred, the government has pressed forward with charges against Mr. Jin. The

government obtained an indictment against Mr. Jin and others on March 21, 2023–now over 21

months ago.     Mr. Jin was arrested in Australia, where he legally resides with his family.

Although he did not contest extradition to the United States, he was held in custody in Australia


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for a period of 18 months. Since his extradition to the United States on or about September 30,

2024, Mr. Jin has been ordered detained pending trial. He is housed at the Alexandria Detention

Center.

          In its motion for a 180-day exclusion under the STA, the government presents a number

of arguments as to why the Court should grant this blanket exclusion. For the reasons that

follow, the government’s arguments are meritless and its efforts to delay Mr. Jin’s trial should be

rejected. Imposing the blanket exclusion sought by the government would violate Mr. Jin’s

rights, and the public’s interests, under the STA.

                                            ARGUMENT

I.        The Speedy Trial Act.

          As relevant here, the STA provides that:

          In any case in which a plea of not guilty is entered, the trial of a defendant charged in an
          information or indictment with the commission of an offense shall commence within
          seventy days ... from the date the defendant has appeared before a judicial officer of the
          court in which such charge is pending.

18 U.S.C. § 3161(c)(1).

          The Speedy Trial Act’s ends-of-justice exception—set forth in § 3161(h)(7)(A)—is

applicable only where certain stringent requirements are met:

          Although the substantive balancing underlying the decision to grant an ends-of-justice
          continuance is entrusted to the district court's sound discretion, the findings requirement
          imposes procedural strictness[.] At the minimum, the district court's findings must
          indicate that it seriously weighed the benefits of granting the continuance against the
          strong public and private interests served by speedy trials.

United States v. Bikundi, 926 F.3d 761, 776–77 (D.C. Cir. 2019) (internal citations and quotation

marks omitted).

          The Speedy Trial Act explicitly prohibits an end-of-justice exception for delays due to

“lack of diligent preparation or failure to obtain available witnesses on the part of the attorney for


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the Government.” 18 U.S.C. § 3161(h)(7)(C). The legislative history to this provision reflects

that Congress sought to ensure that the government would “effectively utilize [its] manpower and

resources so that defendants may be tried within the time limits provided by the bill.” H.R. Rep.

No. 93-1508, at tit. 1 (1974), reprinted in 1974 U.S.C.C.A.N. 7401, 7426.

II.    The Government Has Failed to Show That A Blanket 180-Day STA Exclusion Is
       Warranted Or Permissible.

       In its motion, the government makes several arguments to support its request for a

180-day exclusion from the STA. These arguments are meritless.

           A. The fact that three other defendants are charged is not a basis to grant the
              STA exclusion the government seeks.

       First, the government asserts that the fact that four defendants are charged is a basis to

grant the exclusion. ECF 33, Gov’t Mot. at 7. Yet, the cases cited by the government involved

significantly more than four defendants. See United States v. Butz, 982 F.2d 1378, 1381 (9th Cir.

1993) (involving nine co-defendants); United States v. DiTommaso, 817 F.2d 201, 211 (2d Cir.

1987) (referring to “numerous” co-defendants); United States v. Burton, 2000 WL 2019169 (5th

Cir. July 14, 2000) (involving 12 defendants); United States v. Ambrosio, 898 F. Supp. 177, 192

(S.D.N.Y. 1995) (involving 17 defendants). More importantly, although the government has

stated that “other defendants in this case are believed to be located overseas and have not yet

been apprehended,” ECF 33 at 7-8, the government knows that these defendants will never be

brought to trial with Mr. Jin because they are located in either China or North Korea, countries

that have no extradition treaty with the United States and thus would never extradite individuals

to face trial here. Moreover, even assuming that these individuals were located in extraditable

countries, it appears that the government has taken no steps whatsoever to apprehend them and

bring them to trial. See, e.g., ECF 33 at 7 (noting merely that co-defendants “are believed to be




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located overseas”).1 Thus, the fact that three other defendants are charged presents no basis to

exclude half a year from the STA.

           B. The nature and complexity of the case does not justify the STA exclusion
              sought by the government.

       Second, the government argues that the nature and complexity of the evidence in this case

compels an ends-of-justice continuance of 180 days. Mr. Jin disagrees. The government stated

during the December 6, 2024 status hearing that it has already completed production of

discovery to the defense. Since it was the government that obtained and reviewed all of this

material during the course of its investigation, the government does not and cannot argue that it

needs additional time to review discovery. Instead, the government’s argument is based on its

assertions regarding time that the defense needs to review the discovery. The government’s

position should be given no weight because Mr. Jin is in the best position to determine the time

needed to review discovery and prepare for trial.

       Mr. Jin and his defense counsel have been reviewing the discovery. We assert that a trial

within the 70-day STA period–with otherwise applicable exclusions under 3161(h)(1)(D) for the

filing and resolution of pretrial motions by the Court–is a sufficient period of time in which to

prepare for trial. This fact also distinguishes Mr. Jin’s case from the cases the government has

cited in support of its argument that the complexity of the case justifies an ends-of-justice
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         Importantly, the government does not invoke § 3161(h)(3), which addresses delay
relating to the government’s efforts to apprehend fugitives, nor could it. Courts evaluating
whether the government has met its burden under § 3161(h)(3) have closely scrutinized the
government’s efforts to apprehend the alleged fugitive, and have engaged in highly detailed
fact-finding on this issue. See, e.g., United States v. Weaver, 949 F.Supp.2d 73, 74-77, 82
(D.D.C. 2013) (making detailed factual findings regarding the steps the government took to
locate and apprehend fugitive defendant, and concluding that the government’s efforts to
apprehend the fugitive defendant were “too few and largely ineffectual.”). Here, unless the
government shows that it has taken diligent steps to apprehend the co-defendants and bring them
to trial, the number of co-defendants is not a basis to grant the lengthy exclusion sought by the
government.



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exclusion.2 See United States v. Morrow, 102 F. Supp. 3d 232, 242 (D.D.C. 2015) (defense

counsel agreed that the case was complex and agreed that an exclusion was necessary to prepare

for trial); United States v. Banks, 761 F.3d 1163, 1176 (10th Cir. 2014) (reflecting that it was

defense counsel who requested multiple ends-of-justice exclusions); United States v. Stoddard,

74 F. Supp. 3d 332, 339 (D.D.C. 2014) (defendant and co-defendants consented to the complex

case designation); United States v. Burwell, 79 F. Supp. 3d 1, 9 (D.D.C. 2015) (“Burwell's

counsel . . . indicated on the record in the presence of Burwell, that this was a complex case

under the Speedy Trial Act, allowing for tolling of the Act for a reasonable period of time in

order to prepare the case.”); United States v. Shaw, 510 F. Supp. 2d 148, 152 (D.D.C. 2007). The

government’s assertions regarding the amount of time Mr. Jin needs to prepare for trial, and the

authority on which the government relies, should be given no weight by the Court in light of Mr.

Jin’s own assessment of the time he needs to prepare for trial.

           C. The existence of foreign witnesses does not justify an STA exclusion of 180
              days.

       The government also asserts that the continuance sought is necessary because “the

government may need to go through the Mutual Legal Assistance Treaty (MLAT) process to

secure the presence of . . . foreign witnesses.” ECF 33, at 2. This is mere speculation. The

government has not shown, or even attempted to show, that a 180-day continuance is necessary

to secure the appearance of foreign witnesses. The lack of such a showing at this stage is

significant, because Mr. Jin was arrested in Australia over 21 months ago. The government’s


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        United States v. Speight, 941 F. Supp. 2d 115, 118 (D.D.C. 2013), the only case cited by
the government in support of this argument where defense counsel did not concede the
complexity of the case, the defendant was charged with multiple other individuals who were
before the Court for trial, and where the court denied his motion to sever. Thus, his STA
calculation was based on that of the slowest-moving codefendant in the case. Henderson v.
United States, 476 U.S. 321, 323 n. 2 (1986). But as discussed more fully before, Mr. Jin is the
only defendant before the Court in this case.

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failure to take steps to prepare for his trial over the past 21 months would reflect precisely the

“lack of diligent preparation” for which STA exclusions are prohibited. Moreover, based on

information provided in discovery, it appears that most or all of the foreign witnesses that the

government refers to are in fact individuals who themselves knowingly violated sanctions laws

but were given a pass to cooperate with the government. Thus, they are readily available to the

government. In any event, the government has put no evidence before the Court to establish that

an exclusion of 180 days is necessary for the purpose of securing witnesses.

       For all of the foregoing reasons, there is no basis for this Court to find that the need for a

continuance outweighs the “strong public and private interests served by speedy trials.” Mr. Jin

has already been detained for over 21 months, and does not require a 180-day exclusion to

prepare for trial. The public also has an interest in a speedy trial in this matter. Moreover, the

only reason the government may need such an extension appears to be the result of its own lack

of diligence.

       Additionally, aside from the STA, it is also important to note that Mr. Jin’s constitutional

right to a speedy trial is at play as well.          See, e.g., United States v. Hensley, No.

1:18-CR-00270-RMM, 2024 WL 3673612 (D.D.C. Aug. 5, 2024) (dismissing with prejudice on

Sixth Amendment grounds where defendant detained for 15 months was prejudiced by

unnecessary delay).

                                         CONCLUSION

       For all of these reasons, the Court should deny the government’s motion for a 180-day

ends-of-justice exclusion under the STA.




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                             Respectfully submitted,

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                          CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that I served a copy of the foregoing motion via ECF which
automatically sends a copy to all counsel of record.


                                     Respectfully submitted,

                                     By:/s/ Eugene Gorokhov
                                     Eugene Gorokhov, Esq.




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